IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE

AT KNOXVILLE
PHILLIP LINDNER, )
)
Plaintiff, )
)
V. ) No.:
) Judge:
JAYDEN PARKER LANGFORD, and )
CHARLES FREEMAN ) JURY DEMAND
)
Defendants. )

 

COMPLAINT

 

COMES NOW, the Plaintiff, PHILLIP LINDNER, and he sues the Defendants, JAYDEN
PARKER LANGFORD and CHARLES FREEMAN, and for causes of action would show unto
this Honorable Court as follows:

1. The Plaintiff, Phillip Lindner, is a citizen and resident of McMurray, Pennsylvania.

2. The Defendant, Jayden Parker Langford, is a citizen and resident of Foley,
Alabama, residing at 16882 Fedar Drive, Foley, Alabama 36535.

3. The Defendant, Charles Freeman is a citizen and resident of Summerdale, Alabama,
residing at 234 Lake Front Circle, Summerdale, Alabama 36580.

4. Jurisdiction is founded upon diversity of citizenship, 28 U.S.C. § 1332. The amount
in controversy is in excess of $75,000.00.

5. Venue is proper vcerrenie to 28 U.S.C. § 1391 because the wreck giving rise to this
action occurred in Sevier County, Tennessee.

6. On December 15, 2020, the Plaintiff was driving in his vehicle while traveling

Southbound on State Route 66 (Winfield Dunn Parkway) in Sevier County, Tennessee.

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7. On December 15, 2020, Defendant, Langford, was driving a vehicle also traveling
Southbound on State Route 66 (Winfield Dunn Parkway) in Sevier County, Tennessee.

8. On December 15, 2020, Defendant, Langford, was driving a sports utility vehicle
owned by the Defendant, Freeman.

9. On December 15, 2020, Defendant, Langford, was operating said vehicle with the
permission, authority, knowledge, and consent of the owner, Defendant, Freeman.

10. On information and belief, on December 15, 2020, Defendant, Langford, was an
employee of Defendant, Freeman.

11. On information and belief, at all times material hereto, Defendant, Langford, was
an agent and employee of Defendant, Freeman.

12. On December 15, 2020, Defendant, Langford, at the time of the wreck, as
hereinafter alleged, was engaged in the course and scope of his employment with Defendant,
Freeman.

13. On December 15, 2020, before the wreck as hereinafter alleged, Defendant,
Langford, was traveling the same direction as Plaintiff, behind Plaintiff’ s vehicle, but in a different
lane than Plaintiff.

14. On December, 15, 2020, suddenly and without warning, Defendant, Langford,
violently crashed into the rear of Plaintiff’s and also into the rear of another vehicle that was
traveling in the lane next to Plaintiff’s lane.

15. On December 15, 2020, the Defendants’ vehicle slammed into the rear of the
Plaintiff's vehicle causing the damages and injuries as hereinafter alleged.

16. Immediately prior to the wreck, on December 15, 2020, Defendant, Langford, was

following too closely and improperly.

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17. Prior to the wreck, on December 15, 2020, Defendant, Langford, was traveling at
an excessive rate of speed under the conditions at the time.
18. Prior to the wreck, on December 15, 2020, Defendant, Langford, was not keeping
a proper lookout.
19. The force of the impact caused the Plaintiffs vehicle to violently be thrown forward
before coming to a stop.
20. The wreck on December 15, 2020 was the fault of Defendants.
21. After the wreck on December 15, 2020, Defendant, Langford, stated to Plaintiff
words to the effect of “I’m sorry,” and “I shouldn’t have done that” because he came into Plaintiff’ s
lane of travel, while speeding and following too closely.
22. The Plaintiff avers that the Defendant, Langford, was negligent in the following
particulars, to-wit:
(a) Operating a vehicle in a reckless manner.
(b) Failing to keep a proper lookout.

(c) Failing to keep his vehicle under control, in disregard to the Plaintiff and
others lawfully using the highway.

(d) Following too closely.
(e) Following improperly.
(f) Improper lane change.
(g) | Using a cell phone while driving.

(h) Traveling at an excessive speed for the conditions then and there
pertaining.

All of which singularly and combined were the direct, prime, principle, and proximate cause of

the Plaintiffs losses and damages as hereinafter enumerated.

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23. The Plaintiff avers that the Defendants are also guilty of negligence per se by
violating the following statutes of the State of Tennessee as contained in Tennessee Code
Annotated, and that said violations were the direct, prime, principle, and proximate cause of the

Plaintiffs losses and damages, to-wit:

Tenn. Code Ann. § 55-8-124 Following too closely.

Tenn. Code Ann. § 55-8-152 Speed Limits.

Tenn. Code Ann. § 55-8-136 Drivers to exercise due care.

Tenn. Code Ann. § 55-8-123 Driving on roadways laned for traffic.
Tenn. Code Ann. § 55-10-205 Reckless driving.

Tenn. Code Ann. § 55-8-199 Use of cell phones while driving.

All of which singularly and combined were the direct, prime, principle, and proximate cause of
the Plaintiff's losses and damages as hereinafter enumerated.

24. The Plaintiff was without fault in the premises, and, at all times, was in the exercise
of due care for his own safety.

25. If Defendant, Langford, is found to be negligent in this case, then Defendant,
Freeman, is liable under the doctrine of respondeat superior, and principles of agency.

26. Atthe time of the wreck, Defendants were subject to the provisions of Tenn. Code
Ann, § 55-10-311.

27. At the time of the wreck, Defendants were subject to the provisions of Tenn. Code
Ann. § 55-10-312.

28. At all times material hereto, Defendant, Langford, knew or should have known that
his conduct was in conscious disregard of the substantial and unjustifiable risks of serious injury

to other drivers, such as Plaintiff.

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29. At all times material hereto, Defendants’ conduct described herein constitutes a
gross deviation from the standard of care that an ordinary person would exercise under the
circumstances.

30. The Defendants acted intentionally and/or recklessly sufficient to justify the
imposition of substantial punitive damages.

31. The Defendants are jointly and severally liable to the Plaintiff.

32. Asa proximate result of the negligence of the Defendants, the Plaintiff received
injuries, incurred medical bills and will continue to incur the same, suffered and will continue to
suffer great pain of body and mind, emotional distress, and diminution in the enjoyment of life,
and he sustained permanent injury.

WHEREFORE the Plaintiff prays for judgment against the Defendants for compensatory
damages, punitive damages, plus their costs and expenses, and they demand a jury to try this cause
with the issues joined.

RESPECTFULLY SUBMITTED this the 23rd day of November, 2021.

  

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LAW FIRM, P.C.

 

 

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